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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

CORNING INCORPORATED,
                                                                DEFENDANT’S NOTICE OF
                              Plaintiff,
                                                                  MOTION TO DISMISS
                                                               PURSUANT TO FRCP 12(b)(6)
                 vs.
                                                                Civil Action No.: 6:18-cv-06866
DONGGUAN JINGBO OPTOELECTRONICS CO.,
LTD.,

                              Defendant.



       PLEASE TAKE NOTICE that for the reasons set forth in its accompanying

Memorandum of Law in Support of its Motion to Dismiss Plaintiff’s Complaint, Dongguan

Jingbo Optoelectronics, Co., Ltd. (“Jingbo”) respectfully moves this Court for an order pursuant

to Federal Rule of Civil Procedure 12(b)(5) and 12(b)(6) dismissing the Complaint in its entirety,

and granting such other and further relief as the Court deems just and proper. As grounds for its

request, Jingbo states that Plaintiff Corning Incorporated fails to state a claim upon which relief

can be granted, and that Plaintiff Corning Incorporated did not properly serve Jingbo with the

Complaint.

       Jingbo anticipates it will file and serve a reply in support of its motion. Jingbo requests

oral argument.
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Dated: March 16, 2020

 OF COUNSEL:                            Respectfully submitted,
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